50 F.3d 8
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Bernardo Segundo CALLEJA, a/k/a Beni, Defendant--Appellant.
    No. 94-7381.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 16, 1995.Decided March 21, 1995.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CR-86-28-R)
      Bernardo Segundo Calleja, appellant pro se.
      W.D.Va.
      AFFIRMED.
      Before HAMILTON and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order affirming a magistrate judge's denial of his motion made pursuant to 18 U.S.C. Sec. 3504 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Calleja, No. CR-86-28-R (W.D.Va. Nov. 7, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    